                 Case 2:13-cr-00165-TLN Document 52 Filed 02/18/14 Page 1 of 3


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 OLUSERE OLOWOYEYE
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
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 6 Attorneys for Plaintiff
   United States of America
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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                           CASE NO. 2:13-CR-0165 TLN
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   STACEY MISTLER, AND                                 DATE: February 13, 2014
     CHARLES CONNOR,                                     TIME: 9:30 a.m.
15                                                       COURT: Hon. Troy L. Nunley
                                  Defendants.
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17
                                                 STIPULATION
18
            1.      By previous order, this matter was set for status on February 13, 2014.
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            2.      By this stipulation, defendants now move to continue the status conference until April 3,
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     2014, at 9:30 a.m., and to exclude time between February 13, 2014, and April 3, 2014, under Local Code
21
     T4.
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            3.      The parties agree and stipulate, and request that the Court find the following:
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                    a)     The government has represented that the discovery associated with this case
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            includes over 333 bate stamped pages including investigative reports and bank records. This
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            entire discovery has been either produced directly to counsel and/or made available for
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            inspection and copying.
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                    b)     Counsel for defendants desire additional time to consult with their clients, review
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            the discovery, and discuss potential resolutions.

      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     1
30    ORDER
                 Case 2:13-cr-00165-TLN Document 52 Filed 02/18/14 Page 2 of 3


 1                  c)     Counsel for defendants believe that failure to grant the above-requested

 2          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3          into account the exercise of due diligence.

 4                  d)     The government does not object to the continuance.

 5                  e)     Based on the above-stated findings, the ends of justice served by continuing the

 6          case as requested outweigh the interest of the public and the defendant in a trial within the

 7          original date prescribed by the Speedy Trial Act.

 8                  f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9          et seq., within which trial must commence, the time period of February 13, 2014 to April 3,

10          2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code

11          T4] because it results from a continuance granted by the Court at defendants’ request on the basis

12          of the Court’s finding that the ends of justice served by taking such action outweigh the best

13          interest of the public and the defendant in a speedy trial.

14          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

16 must commence.

17          IT IS SO STIPULATED.

18
     Dated: February 10, 2014                                 BENJAMIN B. WAGNER
19                                                            United States Attorney
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                                                              /s/ OLUSERE OLOWOYEYE
21                                                            OLUSERE OLOWOYEYE
                                                              Assistant United States Attorney
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25 Dated: February 10, 2014                                   /s/ LINDA PARISI by email authorization
                                                              LINDA PARISI
26
                                                              Counsel for Defendant
27                                                            CHALES CONNOR

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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      2
30    ORDER
             Case 2:13-cr-00165-TLN Document 52 Filed 02/18/14 Page 3 of 3


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 2 Dated: February 10, 2014                               /s/ MATT BOCKMAN by email authorization
                                                          MATT BOCKMAN
 3                                                        Assistant Federal Public Defender for Defendant
 4                                                        STACEY MISTLER

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 7
                                           FINDINGS AND ORDER
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          IT IS SO FOUND AND ORDERED this 14th day of February, 2014.
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12
                                                          Troy L. Nunley
13                                                        United States District Judge
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     STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND   3
30   ORDER
